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&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

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&nbsp;

NO. 14-10-00426-CV

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&nbsp;

IN THE INTEREST OF L.R.D. AND H.D.

&nbsp;



On Appeal from the 310th District Court

Harris County, Texas

Trial Court Cause No. 2009-04069J



&nbsp;

M E M O R
A N D U M&nbsp; &nbsp;O P I N I O N

This appeal is from a judgment signed May 4, 2010.&nbsp; No clerk=s record has been filed.&nbsp; The clerk
responsible for preparing the record in this appeal informed the court
appellant did not make arrangements to pay for the record.&nbsp; 

On July 15, 2010, notification was transmitted to all parties
of the court's intention to dismiss the appeal for want of prosecution unless,
within fifteen days, appellant paid or made arrangements to pay for the record
and provided this court with proof of payment.&nbsp; See Tex. R. App.
P. 37.3(b).

Appellant has not provided this court with proof of payment
for the record. Accordingly, the appeal is ordered dismissed.

PER CURIAM

Panel consists of Justices
Seymore, Boyce, and Christopher. 

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